                                            Case 2:19-cv-01579-SPL Document 118 Filed 03/29/21 Page 1 of 4


                                      1    Shayna H. Balch, SBN 024852
                                           Alanna R. Brook, SBN 028018
                                      2    FISHER & PHILLIPS LLP
                                           3200 N. Central Avenue, Suite 1550
                                      3    Phoenix, Arizona 85012-2487
                                           Telephone: (602) 281-3400
                                      4    Fax: (602) 281-3401
                                           sbalch@fisherphillips.com
                                      5    abrook@fisherphillips.com
                                           Attorneys for Defendant
                                      6    WM Corporate Services, Inc.
                                      7
                                      8                            UNITED STATES DISTRICT COURT
                                      9                                      DISTRICT OF ARIZONA
                                     10   Russell A. Smith,                                 No. 19-CV-01579-PHX-SPL
                                     11                         Plaintiff,                  DEFENDANT’S NOTICE OF
                                                                                            MOTION AND MOTION FOR
3200 N. Central Avenue, Suite 1550




                                     12
                                                  v.                                        SUMMARY JUDGMENT
   Phoenix, Arizona 85012-2487
     FISHER & PHILLIPS LLP




                                     13
                                          WM Corporate Services, Inc.,                      [FED. R. CIV. P. 56]
          (602) 281-3400




                                     14
                                                                Defendant.                  (Oral Argument Requested)
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                                     17
                                     18           Defendant WM Corporate Services, Inc. (“Defendant” or “WM”), by and through
                                     19   counsel undersigned, hereby moves for summary judgment in the above-captioned matter.
                                     20   WM is entitled to judgment as a matter of law because Plaintiff cannot prove actionable
                                     21   claims for disability discrimination, failure to accommodate, or retaliation in violation of the
                                     22   Americans with Disabilities Act (“ADA”), as amended. Nor can Plaintiff prove actionable
                                     23   claims for age discrimination in violation of the Age Discrimination in Employment Act
                                     24   (“ADEA”), as amended. This motion is supported by Defendant’s Memorandum of Points
                                     25   and Authorities and separate Statement of Facts filed concurrently herewith, all pleadings and
                                     26   papers on file, and any such matters as may be introduced at the hearing on this matter.
                                     27   Pursuant to the Court’s Order at Doc. 25, attached hereto as Exhibit A is Defendant’s
                                     28   certification of good faith consultation regarding this motion for summary judgment.



                                          FP 40223373.1
                                            Case 2:19-cv-01579-SPL Document 118 Filed 03/29/21 Page 2 of 4



                                      1           DATED this 29th day of March 2021.
                                      2                                           FISHER & PHILLIPS LLP
                                      3
                                                                                  By: s/ Shayna H. Balch
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                                                                                       Shayna H. Balch
                                      5                                                Alanna R. Brook
                                                                                       3200 N. Central Avenue, Suite 1550
                                      6                                                Phoenix, Arizona 85012-2487
                                      7                                                Attorneys for Defendant

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                                     11
3200 N. Central Avenue, Suite 1550
   Phoenix, Arizona 85012-2487




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     FISHER & PHILLIPS LLP




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          (602) 281-3400




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                                          FP 40223373.1
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                                      1                                CERTIFICATE OF SERVICE
                                      2           I hereby certify that on March 29, 2021, I electronically transmitted the attached
                                      3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
                                      4   Notice of Electronic Filing to the following CM/ECF registrant(s):
                                      5
                                      6   Michael R. Pruitt
                                          Nathaniel J. Hill
                                      7   Jackson White
                                          40 North Center Street, Suite 200
                                      8   Mesa, Arizona 85201
                                      9   Attorneys for Plaintiff

                                     10
                                          s/ Michelle C. Colwell
                                     11
3200 N. Central Avenue, Suite 1550
   Phoenix, Arizona 85012-2487




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     FISHER & PHILLIPS LLP




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          (602) 281-3400




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                                                                  EXHIBIT A
                                      1   ATTORNEY CERTIFICATION PURSUANT TO THE COURT’S SCHEDULING
                                      2                        ORDER AT DOC. 25

                                      3           Undersigned counsel for Defendants hereby certifies that prior to filing the instant

                                      4   Motion for Summary Judgment pursuant to Rule 56, counsel notified the opposing party of

                                      5   the issues asserted in this Motion. Specifically, counsel for Defendants notified counsel for

                                      6   Plaintiff of the substance of this Motion via letter on March 22, 2021. In addition, Defense

                                      7   counsel had a telephone conversation with Plaintiff’s counsel the same day regarding the

                                      8   issues asserted in this Motion. In addition to the March 22nd communications, Defense

                                      9   counsel has also had several conversations with Plaintiff’s counsel regarding the issues

                                     10   asserted in this Motion since the inception of this case. Despite this notification the parties

                                     11   were unable to reach an agreement regarding the substance of Defendant’s Motion for
3200 N. Central Avenue, Suite 1550




                                          Summary Judgment.
   Phoenix, Arizona 85012-2487




                                     12
     FISHER & PHILLIPS LLP




                                     13           DATED this 29th day of March 2021.
          (602) 281-3400




                                     14                                               FISHER & PHILLIPS LLP

                                     15
                                                                                      By: s/ Shayna H. Balch
                                     16                                                    Shayna H. Balch
                                     17                                                    Alanna R. Brook
                                                                                           3200 N. Central Avenue, Suite 1550
                                     18                                                    Phoenix, Arizona 85012-2487
                                                                                           Attorneys for Defendant
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